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Name: __ David J. Davoli, Esq. (Bar #264144) I] APR =, PH 3:05
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New York, NY 10010 CS ANGELES
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Phone: (212) 929-1649

Fax: (212) 542-8883

 

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

JOE HAND PROMOTIONS, INC. FDCV4 4 ~ 0 5 Z 4 WDK (0)

To be supplied by the Clerk of
The United States District Court

Plaintiff

Vv.
Dion LEVERTNG wWIWui4sMs

HOTLANTA WINGS & THINGS WEST, INC.
COMPLAINT

d/b/a HOTLANTA WINGS

 

Defendant(s).

Plaintiff, Joe Hand Promotions, Inc., by and through its attorneys, as and for its
Complaint against the Defendants, Dion Levering Williams and Hotlanta Wings & Things
West, Inc. d/b/a Hotlanta Wings, allege as follows:

JURISDICTION AND VENUE

1, This Court has subject matter jurisdiction under 28 U.S.C. §1331 (federal
questions), as this civil action is brought pursuant to 47 U.S.C. §553 and 605.

2, This court has personal jurisdiction over the parties to this action as a result of
Defendants’ wrongful acts, complained of herein, which violated Plaintiff's rights as the
exclusive domestic commercial distributor of the transmission signal of the fight Program as
hereinafter set forth in length. Defendants’ wrongful acts consisted of the interception,
reception, publication, divulgence, display, exhibition and tortuous conversation of

Plaintiff's property, while said property was in the Plaintiffs control in the State of Illinois.

 

PLEADING PAGE FOR A COMPLAINT

 

 

 

CV-126 (09/09)

 
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Case 5:11-cv-00531-WDK-E Document1 Filed 04/04/11 Page 20f19 Page ID #:2

3: Upon information and belief, venue is proper in the Central District of
California, pursuant to 28 U.S. C. §1391(b) because, inter alia, all Defendants reside within
the State of California and/or a substantial part of the events or omissions giving rise to the
claim occurred in this District.

THE PARTIES
4. The Plaintiff, Joe Hand Promotions, Inc., is a Pennsylvania corporation with its

principal place of business located at 407 East Pennsylvania Avenue, Feasterville,

Pennsylvania 19053.
5. Upon information and belief, Defendant, DION LEVERING WILLIAMS,

 

resides in the State of California.
6. Upon information and belief, Defendant, DION LEVERING WILLIAMS, is an

officer, director, shareholder and/or principal of HOTLANTA WINGS & THINGS WEST,

INC. d/b/a HOTLANTA WINGS.
7. Upon information and belief, Defendant, DION LEVERING WILLIAMS, was

the individual with supervisory capacity and control over the activities occurring within the

establishment on May 29, 2010.
8. Upon information and belief, Defendant, DION LEVERING WILLIAMS,

received a financial benefit from the operations of HOTLANTA WINGS & THINGS

WEST, INC. d/b/a HOTLANTA WINGS on May 29, 2010.
9. Upon information and belief, Defendant, HOTLANTA WINGS & THINGS

WEST, INC. d/b/a HOTLANTA WINGS, is a business entity, the exact nature of which is
unknown, having its principal place of business at 3950 Pierce Street, Riverside, CA 92505.
10. Upon information and belief, Defendant, HOTLANTA WINGS & THINGS

WEST, INC. d/b/a HOTLANTA WINGS, is a Domestic Corporation, incorporated and

licensed to do business in the State of California.
11. Upon information and belief, Defendant, HOTLANTA WINGS & THINGS

WEST, INC. d/b/a HOTLANTA WINGS, is a partnership licensed to do business in the

 

State of California.

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CV-126 (09/09) PLEADING PAGE FOR A COMPLAINT

 

 
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12. Upon information and belief, Defendant, HOTLANTA WINGS & THINGS
WEST, INC. d/b/a HOTLANTA WINGS, is a sole proprietorship licensed to do business in

the State of California.
COUNT I
VIOLATION OF TITLE 47 U.S.C. 8605
13. Plaintiff hereby incorporates by reference all of the allegations contained in
paragraphs “1” through “12”, inclusive, as though set forth herein at length. ;
14. By contract, Plaintiff was granted the right to distribute the UFC 114: Rampage

 

v. Evans Broadcast, including all undercard bouts and the entire television broadcast,
scheduled for May 29, 2010, (hereinafter referred to as the “Broadcast’’), via closed circuit
television and via encrypted satellite signal. The Broadcast originated via satellite uplink,
and was subsequently re-transmitted to cable systems and satellite companies via satellite
signal.

ES) Pursuant to the contract, Plaintiff entered into subsequent agreements with
various entities of the State of California, allowing them to publicly exhibit the Broadcast to

their patrons.

: 16. In consideration of the aforementioned agreements, Plaintiff expended
| substantial monies to transmit the Broadcast to those entities in the State of California.

| 17. | Upon information and belief, with full knowledge that the Broadcast was not to
be received and exhibited by entities unauthorized to do so, Defendants and/or their agents,
servants, workmen and/or employees unlawfully intercepted, received and/or de-scrambled
said satellite signal, and did exhibit the Broadcast at the above-captioned address and/or
addresses at the time of its transmission willfully and for purposes of direct or indirect
| commercial advantage or private financial gain.

18. Upon information and belief, Defendants and/or their agents, servants,
| workmen and/or employees used an illegal satellite receiver, intercepted Plaintiff's signal
and/or used a device to intercept Plaintiff's Broadcast, which originated via satellite uplink
and then re-transmitted via satellite or microwave signal to various cable and satellite
| systems. There are multiple illegal methods of accessing the Broadcast, including, (1)

splicing an additional coaxial cable line or redirecting a wireless signal from an adjacent

 

 

CV-126 (09/09) PLEADING PAGEFOR A COMPLAINT

 
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residence into a business establishment; (2) commercial establishments misusing cable or
satellite by registering same as a resident when it is, in fact, a business; or (3) taking a

lawfully obtained box or satellite receiver from a private residence into a business. In

 

addition, emerging technologies, such as broadband or internet broadcast, as well as
“slingbox” technology (which allows a consumer to literally sling the Broadcast from his
personal home cable or satellite systems into his computer), can allow commercial misuse
of residential broadcasting feeds through the internet from anywhere in the world. Each of
these methods would allow Defendants to access the Broadcast unlawfully. Prior to

Discovery, Plaintiff is unable to determine the manner in which Defendants obtained the

 

 

 

Broadcast. However, it is logical to conclude that Defendants, either used an illegal satellite
receiver, misrepresented its business establishment as a residence, or removed an authorized
residential receiver from one location to a different commercial location to intercept
Plaintiff's Broadcast.

19, 47 U.S.C. §605 (a) prohibits the unauthorized reception and publication or use
of communications such as the transmission herein, to which Plaintiff held the distribution

rights.
20. By reason of the aforementioned conduct, Defendants’ herein willfully violated

47 U.S.C. §605 (a).

21. By reason of Defendants’ violation of 47 U.S.C. §605 (a), Plaintiff has a
private right of action pursuant to 47 U.S.C. §605.

aes As a result of Defendants’ willful violation of 47 U.S.C. §605 (a), Plaintiff is
entitled to damages, in the discretion of this Court, under 47 U.S.C. §605 (e) (3) (C) (i) dD
and (ii), of up to the maximum amount of $110,000.00 as to each Defendant herein.

23. Pursuant to 47 U.S.C. §605, Plaintiff is also entitled to an award of full costs,
interest and reasonable attorney’s fees.

COUNT II
VIOLATION OF TITLE 47 U.S.C. §553
24. Plaintiff hereby incorporates paragraphs “1” through “23”, inclusive, as though

fully set forth herein at length.

 

CV-126 (09/09) PLEADING PAGEFOR A COMPLAINT

 
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Case 5:11-cv-00531-WDK-E Document 1 Filed 04/04/11 Page 5of19 Page ID#5

25. Upon information and belief, with full knowledge that the Broadcast was not to
be received and exhibited by entities unauthorized to do so, Defendants and/or its agents,
servants, workmen and or employees did exhibit the Broadcast at the above-captioned
address or addresses at the time of its transmission willfully and for purposes of direct or
indirect commercial advantage or private financial gain.

26. 47 U.S.C. §553 prohibits the unauthorized reception, interception and
exhibition of any communications service offered over a cable system, such as the
transmission herein, to which Plaintiff had the distribution rights.

27. Upon information and belief, Defendants individually, willfully and illegally
intercepted said Broadcast when it was distributed and shown by cable television systems.

28. By reason of the aforementioned conduct, Defendants herein willfully violated

 

47 U.S.C. §553, thereby giving rise to a private right of action.
29. As a result of Defendants’ violation of 47 U.S.C. §553, Plaintiff is entitled to

damages in an amount, in the discretion of this Court, of up to the maximum amount of
$60,000.00, plus the recovery of full costs, interest and reasonable attorney’s fees.

30. Without further Discovery from and/or admission by Defendants, Plaintiff
cannot determine if Defendants intercepted Plaintiff's signal via a cable system, in violation
of 47 U.S.C. §553, or via a satellite transmission, in violation of 47 U.S.C. §605. As such,
Plaintiff is alleging two (2) counts in its Complaint. Plaintiff recognizes that Defendants can
be liable for only (1) of these statutes.

WHEREFORE, Plaintiff requests that judgment be entered in its favor and against

each Defendant herein, granting to Plaintiff the following:

(a) A finding that each Defendant’s unauthorized exhibition of the May 29,
2010, UFC 114: Rampage v. Evans Broadcast violated the Federal Communications Act
and that such violations were committed willfully and for purposes of each Defendant’s
direct or indirect commercial advantage or for private financial gain; and

(b) On the first cause of action, statutory penalties in an amount, in the

discretion of this Court, of up to the maximum amount of $110,000.00 as to each Defendant

for its willful violation of 47 U.S.C. §605 (a).

 

 

 

 

CV-126 (09/09) PLEADING PAGEFOR A COMPLAINT

 
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(c) On the second cause of action, statutory penalties in an amount, in the

discretion of this Court, of up to the maximum amount of $60,000.00 as to each Defendant

for its violation of 47 U.S.C. §553; and

(d) Attorney’s fees, interest, and costs of suit as to each Defendant pursuant

to 47 U.S.C. §605 (e) (3) (B) (iii) or §553 (c) (2) (C), together with such other and further

 

relief as this Court may deem just and proper.
COUNT Il

CONVERSION

31. Plaintiff hereby incorporates by reference all of the allegations contained in

 

paragraphs 1-30, inclusive, as though set forth herein at length.

32. By its acts as aforesaid in intercepting, exhibiting, publishing, and divulging the

Broadcast at the above-captioned address, the aforementioned Defendants, tortuously

obtained possession of the Program and wrongfully converted it to its own use and benefit.
33. The aforesaid acts of the Defendants were willful, malicious, and intentionally

designed to harm Plaintiff Joe Hand Promotions, Inc., and to subject said Plaintiff to

economic distress.
34. Accordingly, Plaintiff Joe Hand Promotions, Inc. is entitled to both

 

compensatory, as well as punitive damages, from the aforementioned Defendants as the

result of the Defendants’ egregious conduct and conversion.

WHEREFORE, Plaintiff requests that judgment be entered in its favor and against

each Defendant herein, granting to Plaintiff the following:
(a) A finding that each Defendant’s unauthorized exhibition of the May 29,

2010, UFC 114: Rampage v. Evans Broadcast violated the Federal Communications Act
and that such violations were committed willfully and for purposes of each Defendant’s

| direct or indirect commercial advantage or for private financial gain; and

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(b) On the first cause of action, statutory penalties in an amount, in the
discretion of this Court, of up to the maximum amount of $110,000.00 as to each Defendant

for its willful violation of 47 U.S.C. §605 (a); and

 

CV-126 (09/09) PLEADING PAGEFOR A COMPLAINT

 

 
Case 5:11-cv-00531-WDK-E Document1 Filed 04/04/11 Page 7of19 Page ID#:7

(c) On the second cause of action, statutory penalties in an amount, in the
discretion of this Court, of up to the maximum amount of $60,000.00 as to each Defendant

for its violation of 47 U.S.C. §553; and
(d) On the third cause of action, compensatory damages in an amount

 

according to proof against Defendants; and
(e) Attorney’s fees, interest, costs of suit as to each Defendant pursuant to statute(s)

including 47 U.S.C. §605 (e) (3) (B) (iii) or §553 (c) (2) (C), together with such other and

further relief as this Court may deem just and proper.

 

DATED: New York, New York
March 28, 2011

DAVOLI LAW FIRM

BY: uu ML ata
a CY

David J. Davoli, Esq. (Bar #264144)
45 West 21st Street, Suite 401

New York, NY 10010

Phone: (212) 929-1649

Fax: (212) 542-8883

Attorney for Plaintiff

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| CV-126 (09/09) PLEADING PAGE/FOR A COMPLAINT

 

 

 
Case 5:11-cv-00531-WDK-E Document1 Filed 04/04/11 Page 8of19 Page ID#8

Name & Address:

David J. Davoli, Esq. (Bar #264144)
Davoli Law Firm

45 West 21st Street, Suite 401

New York, NY 10010

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

JOE HAND PROMOTIONS, INC, CASE NUMBER

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Vv.

 

DION LEVERING WILLIAMS, and
HOTLANTA WINGS & THINGS WEST, INC.
SUMMONS

d/b/a HOTLANTA WINGS
DEFENDANT(S).

 

TO: DEFENDANT(S); Dion Levering Williams and Hotlanta Wings & Things West, Inc. d/b/a Hotlanta
Wings, 3950 Pierce Street, Riverside, CA 92505

A lawsuit has been filed against you.

Within __21 _ days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached [ complaint O amended complaint
Oj counterclaim CJ cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiff's attorney, David J. Davoli, Esq. , whose address is
45 West 21st Street, Suite 401, New York, NY 10010 . If you fail to do so,
judgment by default will be entered against you for the relief demanded in the complaint. You also must file

 

your answer or motion with the court.

Clerk, U.S. District Court

p = N41
Dated: wn = ait py: CHRISTOPHER POWERS
Deputy Clerk

 

(Seal of the Court)

[Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States. Allowed
60 days by Rule 12(a)(3)].

 

CV-O1A (12/07) SUMMONS
Case 5:11-cv-00531-WDK-E Document1 Filed 04/04/11 Page9of19 Page ID#9

Name & Address:
David J. Davoli, Esq. (Bar #264144)

Davoli Law Firm
45 West 21st Street, Suite 401
New York, NY 10010

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

JOE HAND PROMOTIONS, INC. CASE NUMBER

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Vv.

 

DION LEVERING WILLIAMS, and
HOTLANTA WINGS & THINGS WEST, INC.
d/b/a HOTLANTA WINGS SUMMONS

 

DEFENDANT(S).

TO: DEFENDANT(S): Dion Levering Williams and Hotlanta Wings & Things West, Inc. d/b/a Hotlanta
Wings, 3950 Pierce Street, Riverside, CA 92505

A lawsuit has been filed against you.

Within__21 days after service of this summons on you (not counting the day you received it), you

must serve on the plaintiff an answer to the attached iw complaint amended complaint
C1] counterclaim Ui cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer

or motion must be served on the plaintiff's attorney, David J. Davoli, Esq. , whose address is
45 West 21st Street, Suite 401, New York, NY 10010 . If you fail to do so,
judgment by default will be entered against you for the relief demanded in the complaint. You also must file

your answer or motion with the court.

Clerk, U.S. District Court
CHRISTOPHER P

  

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Dated: By:
Deputy Clerk

 

 

(Seal of the Court)
[Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States. Allowed

60 days by Rule 12(a)(3)/.

CV-01A (12/07) SUMMONS
Case 5:11-cv-00531-WDK-E Document1 Filed 04/04/11 Page 10o0f19 Page ID #:10

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Attention:
New Civil Actions

Pursuant to the General Order 10-07, Authorizing Electronic Filing,
you are required to e-mail a “Filed” stamped copy of your initial filing
in PDF format within 24 hours as follows:

e Complaint/Removal, Notice of Assignment to Magistrate Judge for Discovery (CV-
18), Summons (CV-01A) and Civil Cover Sheet (CV-71) as one PDF attachment.

9 Certification and Notice of Interested Parties (CV-30) as a separate PDF attachment.

® AO-120 or AO-121 (for Patent, Trademark, Copyright cases only) as a Separate PDF
attachment.

° Any other “Filed” documents that accompany the Complamt/Removal as separate
PDF attachments.

CL CivillntakeCourtDocs-LA@cacd.uscourts.gov
(for cases numbers CV## -#####)

6 CivillntakeCourtDocs-RS@cacd. uscourts. gov
(for case numbers EDCV## -#4###)

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(for case numbers SAC V##-#####F)

SUBJECT LINE OF E-MAIL TO READ: Document type (complaint, removal,
etc.) and case number. Sample: Complaint CV08-01234-ABC(SHx)

The ECF Helpdesk can be reached at 213-894-0242 during business hours; Monday
through Friday, 8:00 a.m. to 5:00 p.m. (PST). E-mail questions to:
ecf-helpdesk@cacd.uscourts.gov

Subsequent documents e-mailed to above address will not be accepted. Please check
General Order 10-07 for instructions on how to e-file documents.

 

CV-07 (08/10) ATTENTION: NEW CIVIL ACTIONS
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UNITED STATE DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

ree a
NOTICE TO COUNSEL i

The court has directed that the following rules be specifically called to your attention:

£ Continuing Obligation to Report Related Cases (Local Rule 83-1.3.3)
I. Service of Papers and Process (Local Rule 4)

I. CONTINUING OBLIGATION TO REPORT RELATED CASES

Parties are under the continuing obligation to promptly advise the Court whenever one or more civil
actions oT proceedings previously commenced and one or more currently filed appear to be related.

Local Rule 83-1.3.3 states: "It shall be the continuing duty of the attomey in any case prompily to
bring to the attention of the Court, by the filing of a Notice of Related Case(s) pursuant to Local Rule 83-
1.3, all facts which in the opinion of the attomey or party appear relevant to a determination whether such
action and one or more pending actions should, under the criteria and procedures set forth in Local Rule

__83-1.3, be heard by the same judge."

Local Rule 83-1.2.1. states: "Itis not permissible to dismiss and thereafter refile an action for the
purpose of obtaming a different judge.” -

Local Rule 83-1.2.2 provides: Whenever arraction is dismissed by a party or by the Court before
judgment and thereafter the same or essentially the same claims, involving the same or essentially the same ~
parties, are alleged in another action, the later-filed action shall be assi gned to the judge to whom the first-
filed action was assigned. It shall be the duty of every attorney in any such later-filed action to bring those
facts to the attention of the Court in the Civil Cover Sheet and by the filing of a Notice of Related Case(s)

pursuant toL.R. §3-1.3.

IL. SERVICE OF PAPERS AND PROCESS

Loca] Rule 4-2 states: "Except as otherwise provided by order of Court, or when required by the
treaties or statutes of the United States, process shall not be presented to a United States Marshal for
Service." Service of process must be accomplished in accordance with Rule 4 of the Federal Rules of
Civil Procedure or in any manner provided by State Law, when applicable. Service upon the United States,
an officer or agency thereof, shall be served pursuant to the provisions of FRCP 4 (i). Service should be
proruptly made; unreasonable delay may result in dismissal of the action under Local Rule 41 and Rule
4(m) of the Federal Rules of Civil Procedure. Proof of service ora waiver of service of summons and

complaint must be filed with the court.

This notice shall be given by the Clerk to the plamtiff at the time an action is filed (or to the
defendant at the time a notice of removal is filed), and by the plaintiff to other parties as attachments to
copies of the complaint and summonses, OF by the defendant tag other parties as attachments to copies of
the notice to plaintiffs of removal tofederal court, when served.
 

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UNITED STATES DISTRICT COURT
CENTRAL. DISTRICT OF CALIFORNIA
CIVILITY ANB PROFESSIONALISM GUIDELINES

Preamble

7
L. its purest form, law is simply 2 so-
cietal mechanism for achieving justice.
As officers of the court, judges and law-
yers have @ duty to use the law for this
purposs, for the good of the pecple.
Even though ‘justice’ is a lofty coal, one
vbich is not always reached, when an
individual becomes a member of the le-
gal profession, he or she is bound to
strive towards this end.

 

gation costs and fails lo advance the
client’s lawful interests. Perhaps jusi as
importantly, this type of behavior causes
the public to lose faith in the legal pro-
fession and its ability (o benefit society.
For these reasons, we find that civility
and professionalism among advocates,
between lawyer ang client, and between
tench and var are essenti2l fo the ad-
ministration of justice

The following guidelines are de-

flere is & grawing sense that
lawyers regard thetr velihoud as a business,
rather (hana profession.

Unfortunately, many do not perceive
that achieving justice is the function of
law. in society today. Among members
of the public and lawyers themselves,
there is a growing sense that lawyers re-
gard thei livelihood as a business, rather
than a profession. Viewed in this man-
ner, the lawyer may define his or her ul-
timate goal as “winning” any given case,
by whatever means possible, at any cost,
with litthe sense of whether justice is
being served. This attitude manifests it-
self in an array of obstinate discovery
tactics, refusals (o accommodate the rea-
sonable requests of opposing counsel re:
dates, times and places; and other néed-
less, time-consuming conflicts between
and among adversaries. This type of be-
havior tends to increase costs of litiga-
uon and often leads to the denial of jus-

lice,

The Central District recognizes that,
while the majority of lawyers do not
behave in the above-described manner,
iN recent years there has been a discern-
ible erosion of civility and profession-
alism in our courts. This disturbing trend
May have severe consequences if we do
nol act to reverse its course. Incivil be-
havior dogs not constitute effective ad-
vocacy; rather, 1 serves to increase liti-

 

signed to encourage us, the members of
the bench and bar, to act towards each
othe;, our clients, and the public with the
Gignity end civility that our profession
demands In formulating these guide-
Imes, we have bonowed heavily from
the efforts of others who have written
similar codes for this same nurpose. The
Los Angeles County Bar Association
Litigation Guidelines, guidelines issued
by other county bar associations within
the Central District, the Standards for
Professional Conduct within the Seventh
Federal Judicial Circuit, and the Texas
Lawyer's Creed all provide excellent

. models for professional behavior in the

law.

We expect that judges and lawyers
will voluntarily adhere to these standards
as part of a mutual commitment to the
elevation of the level of practice in our
courts. These guidelines shall not be
used as a basis for litigation or for sanc-
lions or penalties.

Nothing in these guidelines super-
sedes or modifies the existing Local
Rules of the Central District, nor do they
aller existing standards of conduct
wherein lawyer negligence may be de-
termined and/or examined.

 

A.

I. Guidelines

Lawyers’ Duties
to Their Clients

We will practice our profession with
4 continving awareness thal our role
ig to advance the legitimate inter-
ests of our chents, We will endeavor
io achieve our clients’ lawful objec-
tives in legal transactions and in liti-
gation as quickly and economically
as possible.

We will be loyal and committed to
our clients’ lawful objectives, but
we will not permit that loyally and
commitment to interfere with our
duty to provide objective and inde-
pendent advice,

We will advise our clients that ci-
vility and courtesy are expected and
are not a sign of weakness.

We will eat adverse parties and
witnesses with fairmess and due con-
sideration. A client has no right to
demand that we act in an abusive
manner or indulge in any offensive
conduct.

We will advise our clients thal we
will not pursue conduct that is in-
tended primarily to harass or drain
the financial resources of the oppos-

ing party.

We will advise our clients that we
reserve the right to determine
whether to grant accommodations
(o opposing counsel in all matters
that do nol adversely affect our cli-
ents’ lawful objectives. Clients have
no nght to instruct us to refuse rea-
sonable requests made by other
counsel.

We wall advise our clients regard-
ing availability of mediation, arbi-
tration, and other alternative meth-

 

Adopted on July 27, 1985

 
 

 

ods of resolving and settling dis-
pules.

We wil! advise our clients of the
contents of this creed when under-
taking representation.

Lawyers’ Duties
to Other Counsel

Communications with
Adversaries

We will adhere to all express prom-
ises and to agreements with other
counsel, whether oral or in writing,
and will adhere in good faith to all
agreements implied by the circum-
stances or local customs.

: When we reach an oral understand-
ing on a proposed agreement or a
stipulation and decide to commit it
to writing, the drafter will endeavor
in good faith to state the oral un-
derstanding accurately and com-
pletely. The drafter will provide the
other counsel with the opportunity
to review the writing. As drafts are
exchanged between or among
counsel, changes from prior drafts
will be identified in the draft or oth-
erwise explicitly brought to the at-
tention of other counsel. We will not
include in a draft matters to which
there has been no agreement with-
out explicitly advising other coun-
sel in writing of the addition.

We will not write letters for the pur-
pose of ascribing to opposing coun-
sel a position he or she has not
taken, or {o create “a record” of
events that have nol occurred. Let-
ters intended only to make a record
should he used sparingly and only
when thought to be necessary un-
der all of the circumstances, Unless
specifically permitted or invited by
the court, letters between counsel
should not be sent to judges.

 

Scheduling Issues

We will not use any form of discov-
ery or discovery scheduling as a
means of harassment.

We will consult other counsel re-
garding scheduling matters in a
good faith effort to avoid schedul-
ing conflicts.

We will endeavor to accommodate
previously scheduled dates for hear-
ings, depositions, meetings, confer-
ences, vacations, seminars, or other
functions thal produce good faith
calendar conflicts on the part of
other counsel, where il is possible
to do so without prejudicing the
client's rights. If we have been given
an accommodation because of a
calendar conflict, we will notify
those who have accommodated us
as soon as the conflict has been re-
moved.

We will notify other counsel and, if
appropriate, the court or other per-
sons, at the earliest possible time
when hearings, depositions, meet-
ings, or conferences are to be can-
celed or postponed. Early notice
avoids unnecessary travel and ex-
pense of counsel and may enable the
court to use the previously reserved
time for other matters.

Unless time is of the essence, as a
matter of courtesy we will grant first
requests for reasonable extensions
of time to respond to litigation
deadlines. After a first extension,
any additional requests for time will]
be considered by balancing the need
for expedition against the deference
one should ordinarily give to an
opponent’s schedule of personal and
professional engagements, the rea-
sonableness of the length of exten-
sion requested, the opponent's will-
ingness lo grant reciprocal exten-
sions, the time actually needed for
the task, and whether if 1s likely a
court would grant the extension if
asked to do so

 

f. We will not request an extension of

time solely for the purpose of un-
Justified delay or to obtain a tacti-
cal advantage.

. We will not attach to extensions

unfair and extraneous conditions.
We may impose conditions for the
purpose of preserving rights thal an
extension might jeopardize, or for
seeking reciprocal scheduling con-
cessions. We will not, by granting
extensions, seek to preclude an
opponent's substantive rights, such
as his or her right to move against a
complaint.

Service of Papers

. We will not time the filing or ser-

vice of motions or pleadings in any
way that unfairly limils another
party's oppurtunity lo respond

. We will not serve papers sufficiently

close to a court appearance su as lu
inhibit the ability of opposing coun-
sel to prepare for that appearance
or, where permitted by law, to re-
spond to the papers.

. We will not serve papers in order to

take advantage of an opponent's
known absence from the office or
at a time or in a manner designed to
inconvenience an adversary, such as
late on a Friday afternoon or the day
preceding a secular or religious
holiday.

. When it is likely that service by

mail, even when allowed, will preju-
dice the opposing party, we will ef-
fect service personally or by fac-
simile transmission.

DeposiGions

. We will take depositions only when

actually needed to ascertain facts or
information or to perpetuate testi-
mony, We will not take depositions

 

 
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for the purpose of harassment or to
increase litigation expense.

We will nol engage in any conduct
during a deposition that would be
inappropriate in the presence of a
judge.

During depositions we wil] ask only
those questions we reasonably be-
lieve are necessary for the prosecu-
tion or defense of an action. We will
not inquire into a deponent's per-
sonal] affairs or question a
deponent’s integrity where such in-
quiry is irrelevant lo the subject
matter of the deposition. We will
refrain from repetilive or argumen-
tative questions or those asked
solely for purposes of harassment.

When defending a deposition, we
will limit objections to those that are
well founded and necessary (o pro-
tect our client's interests. We rec-
ognize that most objections are pre-
served and need be interposed only
when the form of a question is de-
fective or privileged information is
sought.

When a question Is pending, we will
not, through objections or other-
wise, coach the deponent or suggest
answers,

We will not direct a deponent to
refuse to answer questions unless
they seek privileged information or
are manifestly irrelevant or calcu-
lated to harass.

. When we obtain documents pursu-

ant to a deposition subpoena, we
will make copies of the documents
available to opposing counsel at his
or her expense, even if the deposi-
tion is canceled or adjourned.

Document Demands

. We will carefully craft document

production requests so they are lim-
ited to those documents we reason-

 

ably believe are necessary for the
prosecution or defense of an action.
We will not design production re-
quests to harass or embarrass a party
or witness or to impose an undue
burden or expense in responding.

. We will respond to document re-

quests in a timely and reasonable
manner and not strain to interpret
the request in an artificially restric-
tive manner to avoid disclosure of
relevant and non-privileged docu-
ments,

. We will withhold documents on the

grounds of privilege only where it
is appropriate to do so.

. We will not produce documents in

a disorganized or unintelligible
manner, or in a way designed to hide
or obscure the existence of particu-
lar documents.

. We will not delay document produc-

lion to prevent opposing counsel
from inspecting documents prior to
scheduled depositions or for any
other tactical reason.

Interrogatories

. We will carefully craft interrogato-

ries so that they are limited to those

matters we reasonably believe are

necessary for the prosecution or
defense of an action, and we will
not design them to harass or place
an undue burden or expense on a

party.

. We will respond to interrogatories

in a Umely and reasonable manner
and will not strain to interpret them
in an artificially restrictive manner
to avoid disclosure of relevant and
non-privileged information.

. We will base our interrogatory ob-

jections on a good faith belief in
their merit and nat for the purpose
of withholding or delaying the dis-
closure of relevant information. If

 

an interrogatory is objectionable in
part, we will answer the unobjec-
tionable part.

Settlement and Alternative
Dispute Resolution

. Except where there are strong and

overriding issues of principle, we
will raise and explore the issue of
settlement in every case as suon as
enough is known about the cuse (o
make settlement discussion mean-

ingful.

. We will not falsely hold out the pos-

sibility of settlement as a means for
adjourning discovery or delaying
trial.

In every case, we will consider
whether the client's interest could
be adequately served and the con-
troversy more expeditiously and
economically disposed of by arbi-
tration, mediation, or ather forms of
alternative dispute resolution,

Writterr Submissions to a Court,
Including Briefs, Memoranda,
Affidavits, Declarations, and
Proposed Orders.

Before filing a motion with the
court, we will engage in more than
a mere pro forma discussion of is
purpose in an effort to resolve the
issue with opposing counsel.

. We will not force our adversary to

make a motion and then nol oppose
ie

In submitting briefs or memoranda
of points and authorilics to the
court, we will not rely on facts that
are not properly part of the record
We may present historical, eco-
nomic, or sociological data, if such
data appears in or is derived from
generally available sources.

 

 
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_ Incivil actions, we will stipulate to

relevant matters’ if they are undis-
puted and if no good faith advocacy
hasis exists for not stipulating.

Unless directly and necessarily in
issue, we will not disparage the in-
iclligence, morals, integrily, or per-
sonal behavior of our adversaries
before the court, cither in written
submissions of oral presentations

We will not, absent good cause, at-
tibute bad motives or improper
conduct Lo other counsel or bring
the profession into disrepute by un-

founded accusations ol impropriety. -

_ We will nol move for court sanc-

tons against opposing counsel with-
oul first conducting a reasonable
invesugation and unless fully justi-
fied by the circumstances and nec-
essary (0 protect our client's lawful
interests. :

_ We will not causc any default or

dismissal to be entered without first
nolifying oppesing counsel, when
we know his or her identity.

When gu draft order is to be prepared
by counsel to reflect a court ruling,
we will draft an order that accu-
rately and completely reflects (he
court's ruling. We will promptly
prepare and submit a proposed or-
der lo other counsel and attempt to
reconcile any differences before the
draft order is presented to the court.

Ex Parte Communications
With the Court

We will avoid ex parfe communi-
cation on the substance of a pend-
ing case with a judge (or his or her
law clerk) before whom such case
is pending.

. Even where applicable laws or rules

permil an ex parte application or
communication io the court, before
making such an application or com-

 

munication we will make diligent
efforts to notify the opposing party
or his or her attomey. We will make
reasonable efforts to accommodate
the schedule of such attorney, so that
the opposing party may be repre-
senied on the application.

Where the rules permit an ex parte
application or communication to the
court in an emergency situation, we
will make such an application or
communication only where there ts
a bona fide emergency such that the
lawyer's client will be seriously
prejudiced by a failure to rake the
application or communication on
regular notice,

Lawyers’ Duties
te the Court

We will speak and write civilly and
respectfully in all communications
with the court.

We will be punctual and prepared
for all court appearances so that all
hearings, conferences, and irials
may commence on time; if delayed,
we will notify the court and coun-
sel, if possible.

We will be considerate of the time
constraints and pressures on the
court and court staff inherent in their
efforts {o administer justice.

We will not engage in any conduct
that brings disorder or disruption to
the courtroom. We will advise our
clients and witnesses appearing in
court of the proper conduct ex-
pected and required there and, to the
best of our ability, prevent our cli-
ents and witnesses from creating
disorder or disruption.

We will not write letters to the court
in connection with a pending action,
unless invited or permitted by the
court.

 

Before dates for hearing or tnals are
set, or if that is not feasible, imme-
diately after such date has been set,
we will attempt to verify the avail-
ability of necessary participants and
witnesses sO we Can promptly no-
tify the court of any likely problems.

We will act and speak civilly to
court marshals, court clerks, court
reporters, secretanes, and law clerks
with an awareness that they, too, are
an integral part of the judicial sys-
tem.

Judges’ Duties to Others

We will be courteous, respectful,
and civil to the attorneys, parties,
and witnesses who appear before us.
Furthermore, we will use our au-
thority to ensure that all of the al-
torneys, parties, and witnesses ap-
pearing in our courtrooms conduct
themselves in a civil manner.

We will do our best to ensure that
court personnel act civilly toward
attorneys, parues and witnesses

We will nol employ abusive, de-
meaning, or humiliating language in
opinions or in written or oral com-
munications with attorneys, parties,
or witnesses.

We will be punctual in convening
all hearings, meetings, and confer-
ences.

We will make reasonable efforts to
decide promptly all matters pre-
sented to us for decision.

While endeavoring to resolve dis-
putes efficiently, we will be aware
of the Lime constraints and pressures
imposed on attorneys by the exigen-
cies of litigation practice.

Above all, we will remember that
the court is the servant of the people,
and we will approach our duties in
this fashion.

 

 
I (a) PLAINTIFFS (Check box if you are representing yourself 0)

JOE HAND PROMOTIONS, INC.

CIVIL COVER S

P

HEET

DEFENDANTS
DION LEVERING WILLIAMS, Individually, and as an officer, director,

shareholder, and/or principal of HOTLANTA WINGS & THINGS WEST, INC.
d/b/a HOTLANTA WINGS

e

Case 5:1 1-0 R ARS MAK SSR EBL RT, RAD Biba

F CALIFORNIA

18 of 19 Page ID#:18

 

(b) Attorneys (Firm Name, Address and Telephone Number. If you are representing

yourself, provide same.)

DAVOLI LAW FIRM (Tel: 212-929-1649)
45 WEST 21ST STREET, SUITE 401

NEW YORK, NY 10010

 

Attomeys (If Known)

 

I. BASIS OF JURISDLCTION (Place an X in one box only.)

0 1U.S. Government Plaintiff

OQ 2 U.S. Government Defendant

43 Federal Question (U.S.

014 Diversity (indicate Citizenship

Government Not a Party)

of Parties in Item IL!)

Citizen of This State

Citizen of Another $

 

PTF
O1

tate O2

Citizen or Subject of a Foreign Country 03

JIL CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)

DEF PTF DEF

C11 Incorporated or Principal Place 04 4
of Business in this State

2 Incorporated and Principal Place OS (5
of Business in Another State

3 Foreign Nation O06 O6

 

IY. ORIGIN (Place an X in one box only.)

1 Original
Proceeding

O12 Removed from O3 Remanded from 4 Reinstated or
State Court

Appellate Court

Reopened

O15 Transferred from another district (specify): O16 Multi-
District
Litigation

V. REQUESTED IN COMPLAINT: JURY DEMAND: 0 Yes No (Check ‘Yes’ only if demanded in complaint.)
if MONEY DEMANDED IN COMPLAINT: § 170,000

CLASS ACTION under F.R.C.P, 23: 0 Yes No

VL. CAUSE OF AC

TION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional

Federal Communications Act, 47 U.S.C. §553 and §605 - Unauthorized reception of cable service

VIE NATURE OF SUIT (Place an X in one box only.)

O17 Appeal to District
Judge from
Magistrate Judge

statutes unless diversity.)

 

 

 

 

 

 
 
  

   

 

 
 

 

 

 

 

 

 

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i8,) OTHER STATUTES EDS 2 eR 2 oR a |B ff SLs ABORT
01400 State Reapportionment {0110 Insurance PERSONAL UNJURY PERSONAL aa AMOMNS 2 {C1 710 Fair Labor Standards
O410 Antitrust 1120 Marine 0310 Aurplane PROPERTY O510 Motions to Act
4430 Banks and Banking 01130 Miller Act O315 Airplane Product | 370 Other Fraud Vacate Sentence |{1 720 Labor/Mgmt.
11450 Commerce/ICC 0140 Negotiable Instrument Liability — 11371 Truth in Lending Habeas Corpus Relations
Rates/etc. 1150 Recovery of 0 320 Assault, Libel & (380 Other Personal 10530 General (9730 Labor/Mgmt.
01460 Deportation Overpayment & Slander , Property Damage {1 535 Death Penalty Reporting &
0470 Racketeer Influenced Enforcement of 21330 Fed Employers 01385 Property Damage {C1540 Mandamus/ Disclosure Act
and Corrupt Judgment 4340 ane Product Liability Other 0740 Railway Labor Act
Organizations CISL Medicare Act ais Ries we FS AGE /0 550 Civil Rights 0790 Other Labor
CAs Consumer Credit 0152 Recovery of Defaulted Liability FO (422 Appeal 28 USC (01555. Prison Condition, Litigation
490 Cable/Sat TV Student Loan (Excl, ey), 158  PORBETEURT "7101791 Empl. Ret. Inc.
C810 Selective Service Veterans) ae oe ont (1423 Withdrawal 28 | PEN Ay i | Security Act
(1850 Securities/Commodities/|O 153 Recovery of Scie USC 157 (1610 Agriculture - PROPIRAY AAT
. Product Liability sae, fet sit es a : : hae
ixchange Overpayment of 1360 Other Persona! SPR (9620 Other Food & O 820 Copyrights
0875 Customer Challenge 12 Veteran’s Benefits Injury 0 441 Voting Drug 0 830 Patent
USC 3410 0160 Stockholders’ Suits 0 362 Personal Injury- 0442 Employment 01625 Drug Related O 840 Trademark .
(1890 Other Statutory Actions }0 190 Other Contract Med Malpractice [02443 Housing/Acco- Seizure of - SOCIAL SEGLBIIAR >
01891 Agricultural Act 0195 Contract Product 0 365 Personal Injury- mmodations Property 21 USC ]0 861 HIA (13956)
892 Economic Stabilization Liability Product Liability /O444 Welfare 881 0 862 Black Lung (923)
Act O 196 Franchise camer my {1368 Asbestos Personal ]0445 American with |0 630 Liquor Laws 0 863 DIWC/DIWW
0 893 Environmental Matters paces i ‘ apie Injury Product Disabilities - 0640 RR. & Truck (405(g))
0894 Energy Allocation Act {0210 Land Condemnation ee, Liability | _— Employment 0650 Airline Regs 0864 SSID Title XVI
(0895 Freedom of Info. Act 01220 Foreclosure tes \ an “10446 American with [D660 Occupational 0865 RS! (405(2)) ;
(1900 Appeal of Fee Determi- | 230 Rent Lease & Ejectment JD 462 Naturalization Disabilities - Safety /Health | BEDERAT I b
nation Under Equal 01240 Torts to Land Application Other 0690 Other 0870 ‘Taxes (U.S. Plaintiff
Access to Justice (1245 Tort Product Liability /0463 Habeas Corpus- | 440 Other Civil or Defendant)
0950 Constitutionality of 290 All Other Real Property Alien Detainee Rights 2871 IRS-Third Party 26
State Statutes 0465 Other Immigration USC 7609
Actions
QRS i
APw4 «= 4 |
UUYyY iL Vwereae

FOR OFFICE USE ONLY:

Case Number:

 

AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

 

V-71

(05/08)

CIVIL COVER SHEET

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ed 04/04/11 Page 190f19 Page ID#19

Case 5:11-cvht PD iD AP eu CEH? DISTRICT OF CALIFORNIA

CIVIL COVER SHEET

VIL[[(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? WNo O Yes

If yes, list case number(s):

VIII(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? No 0 Yes
If yes, list case number(s):

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) OA. Arise from the same or closely related transactions, happenings, or events; or
OB. Call for determination of the same or substantially related or similar questions of law and fact; or
OC. For other reasons would entail substantial duplication of labor if heard by different judges; or
OD. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

EX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides.

QO Check here ifthe government, its agencies or employces is a named plaintiff. If this box is checked, go to item (b).
California County outside of this District; State, if other than California; or Foreign Country

 

County in this District:*

 

Joe Hand Promotions, Inc. - Bucks County

 

 

 

 

(b) List the County in this District; California County outside of this District; State if other than California: or Foreign Country, in which EACH named defendant resides.

O__Check here if the government, its agencies or employees is a named defendant, If this box is checked, go to item (c).
California County outside of this District; State, if other than California; or Foreign Country

 

County in this District:*

Dion Levering Williams - Riverside County
Hotlanta Wings & Things West, Inc. - Riverside County

 

 

 

 

(c) List the County in this District; California County outside of this District; State if other than Califomia; or Foreign Country, in which EACH claim arose.

Note: In land condemnation cases, use the location of the tract of land involved.
California County outside of this District; State, if other than Califomia; or Foreign Country

 

County in this District:*

 

Riverside County

 

 

 

 

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Sa or San Luis Obispo Counties
Note: In land condemnation cases, use thetoestiauof the tract Tatil ee A
X. SIGNATURE OF ATTORNEY (OR PRO me Wn 5 A v_' Date March 8, 2011

the information contained herein neither replace nor supplement the filing and service of pleadings
onference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

 
  
  

Notice to Counsel/Parties:; The CV-71 (JS-44) Civil Cover Sheet
or other papers as required by law. This form, approved by the Judicial
but is used by the Clerk of the Court for the purpose of statistics, venue

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended,
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the

program. (42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969,
(30 U.S.C. 923)

863 DIwWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42

U.S.C. (g))

 

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